                   Case 8:24-cv-01205-ABA                Document 22         Filed 05/31/24        Page 1 of 8
AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                for the

                                                 __________ District of __________

                         LESTER LEE                               )
                                                                  )
                                                                  )
                                                                  )
                            Plaintiff(s)                          )
                                                                  )
                                v.                                        Civil Action No. 8:24-cv-1205
                                                                  )
      BROOKSIDE PARK CONDOMINIUM, INC.,                           )
      METROPOLIS (AKA MCM, INC.), RAMMY
                                                                  )
        AZOULAY, AND CHARLES SAVOY
                                                                  )
                                                                  )
                           Defendant(s)                           )

                                                 SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Rammy Azoulay
                                       c/o Metropolix
                                       Richard D. Mirsky, Esq., Resident Agent
                                       5504 Burling Court
                                       Bethesda, MD 20817




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                       Richard Rosenthal
                                       545 E. Jericho Turnpike
                                       Huntington Station, NY 11746




       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                             CLERK OF COURT

               5/31/24
Date:
                                                                                       Signature of Clerk or Deputy Clerk
                    Case 8:24-cv-01205-ABA                   Document 22         Filed 05/31/24            Page 2 of 8
AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 8:24-cv-1205

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           ’ I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           ’ I returned the summons unexecuted because                                                                              ; or

           ’ Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
                   Case 8:24-cv-01205-ABA               Document 22         Filed 05/31/24        Page 3 of 8
AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                               for the
                                                      District
                                                __________     of Maryland
                                                           District of __________

                         LESTER LEE                              )
                                                                 )
                                                                 )
                                                                 )
                            Plaintiff(s)                         )
                                                                 )
                                v.                                       Civil Action No. 8:24-cv-1205
                                                                 )
      BROOKSIDE PARK CONDOMINIUM, INC.,                          )
      METROPOLIS (AKA MCM, INC.), RAMMY
                                                                 )
         AZOULAY, AND CHARLES SAVOY
                                                                 )
                                                                 )
                           Defendant(s)                          )

                                                SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) BROOKSIDE PARK CONDOMINIUM, INC.
                                       c/o Resident Agent
                                       George A. Perry
                                       821 West Street
                                       Annapolis, MD 21401




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                       Richard Rosenthal
                                       545 E. Jericho Turnpike
                                       Huntington Station, NY 11746




       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                            CLERK OF COURT

           5/31/24
Date:
                                                                                      Signature of Clerk or Deputy Clerk
                    Case 8:24-cv-01205-ABA                   Document 22         Filed 05/31/24            Page 4 of 8
AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 8:24-cv-1205

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           ’ I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           ’ I returned the summons unexecuted because                                                                              ; or

           ’ Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
                   Case 8:24-cv-01205-ABA                Document 22          Filed 05/31/24        Page 5 of 8
AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                 for the
                                                       District
                                                 __________     of Maryland
                                                            District of __________

                         LESTER LEE                                )
                                                                   )
                                                                   )
                                                                   )
                            Plaintiff(s)                           )
                                                                   )
                                v.                                         Civil Action No. 8:24-cv-1205
                                                                   )
      BROOKSIDE PARK CONDOMINIUM, INC.,                            )
      METROPOLIS (AKA MCM, INC.), RAMMY
                                                                   )
         AZOULAY, AND CHARLES SAVOY
                                                                   )
                                                                   )
                           Defendant(s)                            )

                                                 SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) METROPOLIS aka MCM, Inc.
                                       c/o Resident Agent
                                       Richard D. Mirsky, Esq.
                                       5504 Burling Court
                                       Bethesda, MD 20817




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                       Richard Rosenthal
                                       545 E. Jericho Turnpike
                                       Huntington Station, NY 11746




       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                              CLERK OF COURT

             5/31/24
Date:
                                                                                        Signature of Clerk or Deputy Clerk
                    Case 8:24-cv-01205-ABA                   Document 22         Filed 05/31/24            Page 6 of 8
AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 8:24-cv-1205

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           ’ I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           ’ I returned the summons unexecuted because                                                                              ; or

           ’ Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
                   Case 8:24-cv-01205-ABA               Document 22         Filed 05/31/24        Page 7 of 8
AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                               for the
                                                      District
                                                __________     of Maryland
                                                           District of __________

                         LESTER LEE                                )
                                                                   )
                                                                   )
                                                                   )
                            Plaintiff(s)                           )
                                                                   )
                                v.                                       Civil Action No. 8:24-cv-1205
                                                                   )
      BROOKSIDE PARK CONDOMINIUM, INC.,                            )
      METROPOLIS (AKA MCM, INC.), RAMMY
                                                                   )
         AZOULAY, AND CHARLES SAVOY
                                                                   )
                                                                   )
                           Defendant(s)                            )

                                                SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) CHARLES LAMONT SAVOY
                                       7906 Prentice Ct
                                       Fort Washington, MD 20744




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                       Richard Rosenthal
                                       545 E. Jericho Turnpike
                                       Huntington Station, NY 11746




       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                            CLERK OF COURT


Date:        5/31/24
                                                                                      Signature of Clerk or Deputy Clerk
                    Case 8:24-cv-01205-ABA                   Document 22         Filed 05/31/24            Page 8 of 8
AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 8:24-cv-1205

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           ’ I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           ’ I returned the summons unexecuted because                                                                              ; or

           ’ Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
